                 Case 2:15-cr-00015-TLN Document 147 Filed 05/24/17 Page 1 of 3


 1 DAVID W. DRATMAN
   Attorney at Law
 2 State Bar No. 78764
   1007 7th Street, Suite 305
 3 Sacramento, California 95814
   Telephone: (916) 443-2000
 4 Facsimile: (916) 443-0989
   Email: dwdratman@aol.com
 5

 6 Attorney for Defendant
   SONIA KIM
 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            2:15-CR-00015 GEB

12                                 Plaintiff,             STIPULATION AND [PROPOSED] ORDER
                                                          CONTINUING STATUS CONFERENCE, AND
13                           v.                           EXCLUDING TIME UNDER THE SPEEDY
                                                          TRIAL ACT
14   SONIA KIM, ET AL.,
                                                          DATE: May 26, 2017
15                                 Defendants.            TIME: 9:00 a.m.
                                                          COURT: Hon. Garland E. Burrell, Jr.
16

17          Plaintiff United States of America, by and through its counsel of record, and defendant Sonia
18 Kim, by and through her counsel of record, hereby stipulate as follows:

19          1.       By previous orders, this matter was set for status conference on May 26, 2017.
20          2.       By this stipulation, defendant Sonia Kim seeks to move to continue the status conference
21 and to exclude time between May 26, 2017 and July 14, 2017 at 9:00 a.m. under Local Code T4.

22          3.       The parties agree and stipulate, and request that the Court find the following:
23                   a)     The discovery in this case includes 130 pages of investigative reports and related
24          documents jointly provided to all defense counsel. The government provided individual defense
25          counsel with data and reports from the alleged cell phones of their respective clients, consisting
26          of thousands of pages. The disclosure of this material to all defense counsel has not resulted in a
27          joint stipulation for disclosure, but the parties are continuing to communicate to reach an
28          agreement for disclosure, as well as having discussions concerning the resolution of this case.

      STIPULATION AND [PROPOSED] ORDER CONTINUING
                                                          1
30    STATUS CONFERENCE, AND EXCLUDING TIME…
                 Case 2:15-cr-00015-TLN Document 147 Filed 05/24/17 Page 2 of 3


 1                   b)     Defendant’s counsel need to consult with his client, conduct investigation, review

 2          discovery and seek a solution to the discovery of the cell phone contents, as well as continuing

 3          the discussions regarding the resolution of this case.

 4                   c)     Counsel for defendant Sonia Kim believes that failure to grant the above-

 5          requested continuance would deny him the reasonable time necessary for effective preparation,

 6          taking into account the exercise of due diligence.

 7                   d)     The government does not object to the continuance.

 8                   e)     Based on the above-stated findings, the ends of justice served by continuing the

 9          case as requested outweigh the interest of the public and the defendant in a trial within the

10          original date prescribed by the Speedy Trial Act.

11                   f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

12          et seq., within which trial must commence, the time period of May 26, 2017 to July 14, 2017

13          inclusive, is deemed excludable pursuant to 18 U.S.C. § 3161(h)(7)(A), B(iv) [Local Code T4]

14          because it results from a continuance granted by the Court at defendant’s request on the basis of

15          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

16          of the public and the defendant in a speedy trial.

17          4.       Nothing in this stipulation and order shall preclude a finding that other provisions of the

18 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

19 must commence.

20          IT IS SO STIPULATED.
                                                               PHILLIP A. TALBERT
21 Dated: May 23, 2017                                         United States Attorney
22                                                             /s/ PAUL A. HEMESATH
                                                               PAUL A. HEMESATH
23                                                             Assistant United States Attorney
24
     Dated: May 23, 2017                                       /s/ DAVID W. DRATMAN
25                                                             DAVID W. DRATMAN
26                                                             Counsel for Defendant
                                                               SONIA KIM
27

28

      STIPULATION AND [PROPOSED] ORDER CONTINUING
                                                           2
30    STATUS CONFERENCE, AND EXCLUDING TIME…
              Case 2:15-cr-00015-TLN Document 147 Filed 05/24/17 Page 3 of 3


 1                                           FINDINGS AND ORDER

 2          The Court, having considered the stipulation of the parties, and good cause appearing therefrom,

 3 adopts the stipulation of the parties in its entirety as its order. Based on the stipulation of the parties, the

 4 Court finds that the failure to grant the requested continuance would deny defense counsel reasonable

 5 time necessary for effective preparation, taking into account the exercise of due diligence. The Court

 6 specifically finds that the ends of justice served by the granting of such continuance outweigh the

 7 interests of the public and that the time from May 26, 2017 to July 14, 2017 inclusive shall be excluded

 8 from computation of time within which the trial of the case of Sonia Kim must be commenced under the

 9 Speedy Trial Act, pursuant to Local Code T4 (time for defense counsel to prepare and continuity of
10 counsel pursuant to 18 U.S.C.§ 3161(h)(7)(A) and (B)(iv)).

11          Dated: May 23, 2017

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28

      STIPULATION AND [PROPOSED] ORDER CONTINUING
                                                           3
30    STATUS CONFERENCE, AND EXCLUDING TIME…
